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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF CONNECTICUT

JAKUB MADEJ,
    Plaintiff,                                      Civil Action No.
                                                    3:20-cv-133 (JCH)
       v.
                                                    JURY TRIAL DEMANDED
YALE UNIVERSITY et al.,
                                                    January 15, 2021
     Defendants.


                               NOTICE OF APPEAL


      The Plaintiff Jakub Madej hereby gives notice that he appeals to the United

States Court of Appeals for the Second Circuit the January 15, 2021 decision of the

Court granting Defendants’ motion to dismiss. (Doc. No. 185).

      A check covering the filing fee will be sent to the Clerk of Court via first-class

mail at once.



Dated: January 15, 2020                        THE PLAINTIFF,
                                               JAKUB MADEJ

                                               By: /s/ Jakub J. Madej
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